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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA ex rel. INTEGRA
MED ANALYTICS LLC,

                      Plaintiff,                  Case No. 17 Civ. 9424 (CS)

           v.

ISSAC LAUFER, TAMI WHITNEY, PARAGON
MANAGEMENT SNF LLC, MONTCLAIR CARE
CENTER, INC., EAST ROCKAWAY CENTER
LLC, EXCEL AT WOODBURY FOR
REHABILITATION AND NURSING, LLC, LONG
ISLAND CARE CENTER INC., TREETOPS
REHABILITATION & CARE CENTER LLC, SUTTON
PARK CENTER FOR NURSING &
REHABILITATION, LLC, SUFFOLK RESTORATIVE
THERAPY & NURSING, LLC, OASIS
REHABILITATION AND NURSING, LLC, FOREST
MANOR CARE CENTER, INC., SURGE
REHABILITATION & NURSING LLC, and
QUANTUM REHABILITATION & NURSING
LLC,

                      Defendants.



          DEFENDANT TAMI WHITNEY’S OBJECTION TO THE
        DISCOVERY ORDER DENYING HER MOTION TO COMPEL
      ANSWERS TO HER INTERROGATORIES SERVED ON PLAINTIFF



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       Defendant Tami Whitney hereby objects to so much of the May 5, 2023 written

discovery order of Magistrate Judge Judith C. McCarthy (the “Order,” Ex. A) that denied her

letter motion (ECF No. 172) to compel answers to her interrogatories served on plaintiff.

                                PRELIMINARY STATEMENT

       In the Order, the Magistrate Judge erroneously held that, were plaintiff to answer eight of

Whitney’s interrogatories truthfully, those answers would divulge privileged work product, and

on that reasoning denied Whitney’s motion to compel. That ruling is clearly erroneous and

contrary to law, which requires an order setting it aside and compelling answers to the

interrogatories.

       The interrogatories at issue ask plaintiff – the United States – to provide specific

information to back up certain assertions in its Complaint in this False Claims Act case. Plaintiff

made concrete allegations that unnamed “employees” of the defendant skilled nursing facilities

stated that Whitney overruled their discharge decisions and directed them to extend the length of

stay of patients and provide heightened therapeutic care regardless of medical reasonableness or

necessity – which is the very heart of plaintiff’s claims against her in this case. Those

allegations, moreover, were cited by this Court in denying defendants’ motions to dismiss for

lack of particularity. See ECF 9/26/2022 Minute Entry re 9/23/2022 Bench Ruling, dismissing,

inter alia, Whitney MTD [ECF No. 111]. Where a civil plaintiff has made allegations in a

pleading that some undisclosed witness or other source has stated alleged facts on which the

complaint is based, the identity of that witness/source is not privileged work product. Because

that information is clearly relevant, clearly not privileged, and thus clearly valid discovery, it was

clear error to deny Whitney’s motion to compel.

       Plaintiff, moreover, has already identified some 152 witnesses by name in its Rule 26

disclosures and the Magistrate Judge ordered it to identify by name each witness it interviewed


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before filing its Complaint and each person who is in any way referenced in the Complaint.

Whitney’s interrogatories merely ask that plaintiff also specify by name which of these witnesses

made each of the specific accusations in the Complaint about her and that plaintiff identify by

name the specific patients whose treatment was supposedly affected by Whitney’s alleged

conduct described in the Complaint. None of this information is attorney work product. It is

information that would have to be presented at trial and that, by any measure of fairness, must be

disclosed to Whitney during discovery so she has a fair opportunity to assess and investigate the

source(s) of this evidence before trial. This discovery is thus critical to her defense.

       Moreover, during oral argument on this motion, plaintiff alleged that at present it can

identify only two witnesses it would call at trial: defendants Whitney and Issac Laufer. Ex. B

(May 3, 2023 Tr. 5:8-12). Neither is an “employee” of the defendant facilities and neither made

the statements about Whitney alleged in the Complaint. Thus, given this representation to the

Court, the truth is the government cannot identify the name of a single “employee” (or any other

potential witness) as the source of its accusations in the Complaint concerning Whitney

overruling anyone or directing anyone to do anything, nor can it identify a single patient whose

discharge was “overruled” by Whitney. That answer is vital to her defense. Plaintiff should say

so plainly in a sworn answer to her valid interrogatories, as required by law.

                                      DISCOVERY ORDER

       The interrogatories at issue pose narrowly tailored questions about specific allegations

plaintiff makes in its Complaint about Whitney:

       INTERROGATORY NO. 2:                     Identify “the employees of the Facilities” and
       “Facility management” referenced in paragraphs 57, 58, and 60 of the Complaint
       with whom Whitney allegedly worked to “devise strategies for convincing patients
       to stay longer than clinically necessary” and “sought to maximize Medicare billings
       . . . without regard to patients’ clinical needs,” and all documents to support these
       allegations.



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       INTERROGATORY NO. 3:                    For each person identified in response to
       Interrogatory No. 2, state the factual bases to support your contention that Whitney
       and these Facility employees “devise[d] strategies” concerning length of stay and
       RUG levels, identifying all documents and information that support your
       contention.

       INTERROGATORY NO. 4:                  Identify “the employees of several of the
       Facilities” referenced in paragraph 70 of the Complaint who you allege stated that
       Whitney “frequently challenged discharge determinations . . . and would sometimes
       overrule employees who believed patients were ready to be discharged” and all
       documents to support the allegations.

       INTERROGATORY NO. 5:                Identify every patient with respect to whom
       Whitney overruled a discharge decision.

       INTERROGATORY NO. 6:               Identify every employee you contend
       Whitney chastised and/or overrode (see paragraph 4 of the Complaint), and state
       your basis for that contention.

       INTERROGATORY NO. 7:                  Identify     every employee  Whitney
       “instructed” “on ways to keep Medicare patients as close as possible to the
       maximum 100 days compensable by Medicare,” as you allege in paragraph 69 of
       the Complaint, and state your basis for that contention.

       INTERROGATORY NO. 8:                  For every claim submitted to Medicare by
       defendants that you contend is fraudulent or false, including the nine examples in
       paragraph 97 of the Complaint, state what Whitney did with respect to the level of
       care provided to and the length of stay for each particular patient identified in each
       such claim.

       INTERROGATORY NO. 9:                    State the basis for your contention in
       paragraphs 79 through 83 of the Complaint that Whitney intended and instructed
       others to use the Berg Balance Scale and/or Balance Master as “pretexts for keeping
       patients at the Facilities longer than necessary.”

Ex. C (copy of attachment to ECF No. 172).

       In its response to these interrogatories, plaintiff responded by merely referring Whitney

to the Complaint and to its Rule 26 disclosures, neither of which answers the questions. Plaintiff

also interposed a slew of objections, including work product privilege. Id.

       The Magistrate Judge held oral argument on this motion at a discovery conference on

May 3, 2023 and ruled from the bench. That ruling was followed by the court’s Order in a



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written docket entry on May 5, 2023, which stated, “Defendant Tami Whitney’s request for

further information responsive to Interrogatories No. 2-9 (Docket No. 172) is denied. However,

the Government is directed to verify [its] interrogatories.” Ex. A (ECF, May 5, 2023 Docket

Entry). In the bench decision underlying the Order, the Magistrate Judge ruled that “to provide

the names of who gave the information at this point is really going [to] the government’s work

product here and it is protected.” Ex. B (May 3, 2023 Tr. 26:18-20). The Court cited In re

Keurig Green Mountain Single-Serve Coffee Antitrust Litigation, 2020 WL 6290584 (S.D.N.Y.

Oct. 27, 2020), which does not involve any analysis of work product or other privilege. The

Magistrate Judge also opined that she did “not believe the government has to match all the

documents to each allegation in the complaint which it appears is what Whitney seeks through

her interrogatories.” Id. (May 3, 2023 Tr. 26:13-18).

                                    STANDARD OF REVIEW

       “The district judge in the case must consider timely objections and modify or set aside

any part of the order that is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a); see

also 28 U.S.C. § 636(b)(1)(A) (“A judge of the court may reconsider any pretrial matter [related

to discovery] where it has been shown that the magistrate judge’s order is clearly erroneous or

contrary to law.”). A ruling is “clearly erroneous if the district court is left with the definite and

firm conviction that a mistake has been committed,” and it is “contrary to law if it fails to apply

or misapplies relevant statutes, case law, or rules of procedure.” Thai Lao Lignite (Thai.) Co. v.

Gov't of Lao People's Dem. Rep., 924 F. Supp. 2d 508, 512 (S.D.N.Y. 2013).

                                OBJECTION AND ARGUMENT

       The Order erroneously denied Whitney’s motion to compel on grounds of work product

privilege. This Court has repeatedly held that disclosing identities of undisclosed witnesses

otherwise referenced in a complaint does not implicate such privilege. Where, as here, “a party


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has attempted to satisfy … pleading requirements … by showcasing statements from a limited

number of confidential witnesses, it may not thereafter refuse to disclose who they are on

grounds of work product.” Plumbers and Pipefitters Local Union No. 630 Pension-Annuity

Trust Fund v. Arbitron, Inc., 278 F.R.D. 335, 341 (S.D.N.Y. 2011) (Englemayer, J.); see also

Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co, 2013 WL 1896934, at *1 (S.D.N.Y.

May 7, 2013) (Francis, USMJ) (“[T]he majority view, especially more recently, is that ‘the

names of the persons identified in the [complaint] as confidential informants are not entitled to

any work product protection.”) (citing cases).

       The decision in In re Marsh & McLennan Companies, Inc. Securities Litigation, 2008

WL 2941215 (S.D.N.Y., July 30, 2008) (Kram, J.), is instructive on this point. In that case, the

court compelled disclosure of the identities of witnesses referenced in the complaint because the

plaintiffs conceded they had to eventually identify them, their disclosure of a list of all witnesses

in connection with its Rule 26(a)(1) disclosures meant there was “actually little confidentiality at

stake,” and the defendants should not be required to exhaust all of their allotted depositions in an

attempt to fully identify such witnesses. Id. at *3-4. The circumstances are materially identical

here. Plaintiff must eventually identify these witnesses and has already been ordered to disclose

a list of all witnesses referenced in the Complaint (see ECF No. 178 as modified by the Order),

eliminating any conceivable confidentiality issue. Without direct answers to her interrogatories,

Whitney is unable to get this information without deposing every witness identified by plaintiff,

which is unnecessarily burdensome and wasteful. It is the exact kind of hide-the-ball

gamesmanship the rules disallow. See Fed. R. Civ. P. 1 (rules are to be applied to “secure the

just, speedy, and inexpensive determination of every action and proceeding”).

       Here, Whitney merely seeks the identity of (i) the employee(s) who stated that she

“frequently challenged discharge determinations . . . and would sometimes overrule employees


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who believed patients were ready to be discharged” and whom she “chastised” or “overrode”

(Interrog. Nos. 4 and 6); (ii) the employee(s) who allegedly worked with Whitney to “devise

strategies” to commit the fraud alleged (Nos. 2-3) and those whom she supposedly “instructed”

to keep patients close to 100 days (No. 7); and (iii) the patient(s) with respect to whom Whitney

overruled a discharge decision (No. 5). The remaining two interrogatories ask what Whitney

supposedly did concerning the level of care or length of stay for each patient plaintiff contends is

the basis for its fraud claim (No. 8), and what basis it has for its charge that she intended and

instructed others to use balance tests and equipment as “pretexts for keeping patients . . . longer

than necessary” (No. 9).

        No privileged investigatory work product or legal opinion is sought. In answering these

questions plaintiff is not called upon to state how it learned the information, what it did to

investigate it, or why it credits it. Plaintiff is not required to identify people the government

singled out for interviews or the witnesses or confidential sources (if any) who contacted

plaintiff. The answers to Whitney’s questions are hard facts alleged in the Complaint to be true.

        The facts of this case thus fall squarely within the established law in this District set forth

in the cases cited above. Neither plaintiff nor the Magistrate Judge cited any contrary authority.

        There is no question the law applies equally to the sovereign as plaintiff as it does to all

civil litigants, and this plaintiff, like all civil parties, is not permitted to provide evasive

interrogatory responses. Simply referring to the complaint or to initial disclosures, as plaintiff

did here, is not a sufficient response to an interrogatory. See Bujnicki v. American Paving and

Excavating, Inc., 2004 WL 1071736 at *12 (W.D.N.Y. Feb. 25, 2004) (referencing Rule 26

disclosure is insufficient); Trueman v. New York State Canal Corp., 2010 WL 681341 at *3

(N.D.N.Y. Feb. 24, 2010) (“Reference to . . . other document production, the complaint itself, or

any other documents are improper and thus unresponsive.”); see also Martinez v. City of New


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York, 2018 WL 604019 at *27-32 (E.D.N.Y. Jan. 24, 2018) (recommending sanctioning City of

New York Law Department for evading interrogatories by using boilerplate objections and

referring to initial disclosures). In the Order, the Magistrate Judge thus committed plain error in

ruling that plaintiff does not have “to do any more” in response to Whitney’s interrogatories. Ex.

B (May 3, 2023 Tr. 26:12).

       Lastly, the decision in In re Keurig Green Mountain Single-Serve Coffee Antitrust

Litigation, 2020 WL 6290584 (S.D.N.Y. Oct. 27, 2020) – cited in the ruling underlying the

Order – is inapposite. In that case, the court was asked to resolve a dispute involving

interrogatories seeking “all factual bases and Documents” for “each Customer or potential

Customer” that plaintiff lost. Id. at *4. That court held those interrogatories were “overly broad

and unduly burdensome.” Id. It also ruled that it is “entirely appropriate for [the defendant] to

seek and for [the plaintiff] to provide this information as to ‘certain principal or material’

customers,” and directed the parties to meet/confer to narrow the scope of the interrogatories

accordingly. Id. at *4-5. Here, Whitney seeks the particular names of particular witnesses who

plaintiff alleges made particular statements about her that are the core of plaintiff’s case against

her. Whitney does not ask plaintiff to identify “all factual bases” for its allegations nor did she

use anything like the sweeping language at issue in Keurig. Thus, the outcome in Keurig

requires enforcement of Whitney’s motion, not denial, as the Magistrate Judge erroneously held.




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                                        CONCLUSION

       For the foregoing reasons, the Order denying Whitney’s motion to compel should be set

aside and her motion should be granted in its entirety, and movant respectfully requests that the

Court grant such other relief as the Court deems proper.


Dated: New York, New York
       May 19, 2023
                                             Respectfully submitted,

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